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                                                                                    2025 Jul-10 AM 11:06
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA




                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

  EVAN MILLIGAN, et al.,                   )
                                           )
         Plaintiffs,                       )     Case No.: 2:21-cv-01530-AMM
                                           )
  v.                                               THREE-JUDGE COURT
                                           )
  WES ALLEN, in his official               )
  capacity as Alabama Secretary of         )
  State, et al.,                           )
                                           )
         Defendants.                       )


Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:
                                      ORDER

       This congressional redistricting case is before the Court on the Milligan

Plaintiffs’ application for bail-in under Section 3(c) of the Voting Rights Act. The

Court SETS a hearing on that application for JULY 29, 2025 at 9:00 AM Central

Daylight Time in the Third Floor Courtroom, Robert S. Vance Federal Building and

United States Courthouse, 1800 5th Avenue North, Birmingham, Alabama.

       The Milligan Plaintiffs and the State are required to attend the hearing, with

each side allotted thirty minutes for oral argument. The Singleton and Caster

Plaintiffs may attend and participate in the hearing but are not required to do so.
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